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                            EXHIBIT 7
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From:            nickielumdavis
To:              Lowell, Abbe David
Subject:         (No Subject)
Date:            Tuesday, August 27, 2019 2:54:34 PM


Dear Abbe,
I understand the Justice Department raised for the first time on Monday your representation of me
and your prior representations of       and                  .

This will confirm, as I did when our recent representation began, that I am aware that you advised
         in the past on various matters and that you have also provided advice to                  .
Neither of these representations involved or concerned me or any of the issues I am addressing
with the DOJ. And my information on actions or conversations with them do not include any
wrongdoing on their part. Moreover, I understand that you are not providing them with any
information about my representation or information with the DOJ. I stated then and confirm again
now that I have no conflicts with either of them and that I will not raise those representations in
any proceedings in which I am involved. I have consulted with separate counsel on this matter at
the time we started and again now.

Mahalo,
Nickie


Sent with ProtonMail Secure Email.
